    Case: 1:21-cv-02232 Document #: 15 Filed: 11/08/21 Page 1 of 2 PageID #:136




                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

 JACQUELINE STEVENS,                              )
                                                  )
                                 Plaintiff,       )
                                                  )
                        v.                        )
                                                  )
 U.S. IMMIGRATION AND CUSTOMS                     )
 ENFORCEMENT, U.S. CUSTOMS AND                    )    No. 21 C 2232
 BORDER PROTECTION, U.S.                          )
 CITIZENSHIP AND IMMIGRATION                      )    Judge Tharp
 SERVICES, EXECUTIVE OFFICE OF                    )
 IMMIGRATION REVIEW, U.S. NAVY,                   )
 U.S. DEPARTMENT OF AGRICULTURE,                  )
 U.S. DEPARTMENT OF STATE, and U.S.               )
 DEPARTMENT OF JUSTICE,                           )
                                                  )
                                 Defendants.      )

                                     JOINT STATUS REPORT

        At the court’s direction (Dkt. 14), the parties in this Freedom of Information Act case

jointly submit this status report:

        1.      This case arises out of FOIA requests that plaintiff Jacqueline Stevens submitted to

seven federal agencies: U.S. Immigration and Customs Enforcement (ICE), U.S. Customs and

Border Protection (CBP), U.S. Citizenship and Immigration Services (USCIS), U.S. Department

of Justice’s Executive Office of Immigration Review (EOIR), U.S. Navy, U.S. Department of

Agriculture (USDA), and U.S. Department of State.

        2.      Defendants previously reported that six of the seven agencies have completed their

searches for records responsive to plaintiff’s FOIA requests. Dkt. 13 ¶ 2. Of those six agencies,

two agencies had completed their productions, three agencies found no responsive records, and
    Case: 1:21-cv-02232 Document #: 15 Filed: 11/08/21 Page 2 of 2 PageID #:137




one agency (the State Department) had located records and expected to produce them shortly. Id.

Since that report, the State Department has completed its production.

       3.      Defendants also previously reported that the remaining agency at issue, ICE, had

completed its search for records responsive to three of plaintiff’s four FOIA requests but was still

searching for records responsive to the fourth request. Dkt. 13 ¶ 3. Since that report, ICE has

continued searching for records responsive to the fourth request and expects the search to be

complete by next week, at which point ICE will better be able to anticipate a timeline for

completing its production.

       4.      The parties propose that they file a joint status report in 60 days updating the court

on the status of the remaining ICE search.

                                              Respectfully submitted,

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                                              United States Attorney

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